              BRAD D. KRASNOFF, TRUSTEE
              1900 Avenue
              Case         of the Stars, 11th
                    2:15-bk-26377-BR          Floor
                                            Doc  31 Filed 04/10/18 Entered 04/10/18 07:34:06                Desc
              Los Angeles, CA 90067-4402Main Document          Page 1 of 16
              Telephone: (310) 201-2417
              Facsmile: (310) 277-5735
              BDKTrustee@dgdk.com

1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.     Chapter 7 Trustee
                                                UNITED STATES BANKRUPTCY COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
                                                      LOS ANGELES DIVISION


              In re:                                        §
                                                            §
              Lesprit, Inc.                                 §       Case No. 2:15-bk-26377-BR
                                                            §
                                  Debtor                    §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      BRAD D. KRASNOFF (TR), TRUSTEE, chapter 7 trustee, submits this Final Account,
              Certification that the Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 5,002.00                            Assets Exempt: NA
              (Without deducting any secured claims)

              Total Distributions to Claimants: 2,242.28            Claims Discharged
                                                                    Without Payment: NA

              Total Expenses of Administration: 5,510.62


                      3) Total gross receipts of $ 7,752.90 (see Exhibit 1), minus funds paid to the debtor and
              third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 7,752.90 from the liquidation of
              the property of the estate, which was distributed as follows:




         UST Form 101-7-TDR (10/1/2010) (Page: 1)
          Case 2:15-bk-26377-BR                 Doc 31 Filed 04/10/18 Entered 04/10/18 07:34:06               Desc
                                                Main Document     Page 2 of 16




                                                  CLAIMS           CLAIMS                 CLAIMS                 CLAIMS
                                                SCHEDULED         ASSERTED               ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                          $ NA               $ NA                  $ NA                      $ NA

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                          NA           5,510.62               5,510.62                 5,510.62

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                  NA                NA                     NA                       NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                             88,720.59          1,561.41               1,561.41                 1,561.41

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                             118,469.11          71,509.93              71,509.93                   680.87

TOTAL DISBURSEMENTS                                $ 207,189.70       $ 78,581.96            $ 78,581.96                $ 7,752.90


                  4) This case was originally filed under chapter 7 on 10/26/2015 . The case was pending
          for 29 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 03/23/2018                        By:/s/BRAD D. KRASNOFF (TR), TRUSTEE
                                                                         Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




     UST Form 101-7-TDR (10/1/2010) (Page: 2)
            Case 2:15-bk-26377-BR                  Doc 31 Filed 04/10/18 Entered 04/10/18 07:34:06                     Desc
                                                   Main Document     Page 3 of 16




                                                              EXHIBITS TO
                                                            FINAL ACCOUNT


             EXHIBIT 1 – GROSS RECEIPTS

                            DESCRIPTION                                    UNIFORM                                     $ AMOUNT
                                                                          TRAN. CODE1                                  RECEIVED

City National Bank Business Checking Account
No. 9493                                                                     1129-000                                          7,482.41

Marine Agency Insurance Professional Liability
Insurance Pol                                                                1129-000                                             26.00

    PAYCHEX, INC.                                                            1290-000                                            238.68

    TYCO INTGRATED SECURITY                                                  1290-000                                              5.81

TOTAL GROSS RECEIPTS                                                                                                          $ 7,752.90
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


             EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                    PAYEE                                       DESCRIPTION                          UNIFORM           $ AMOUNT
                                                                                                    TRAN. CODE            PAID

NA                                                                                                      NA                          NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                       $ NA
THIRD PARTIES


             EXHIBIT 3 – SECURED CLAIMS

                                                  UNIFORM       CLAIMS
                                                                                    CLAIMS               CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.     SCHEDULED                                                  CLAIMS PAID
                                                                                   ASSERTED             ALLOWED
                                                   CODE     (from Form 6D)

NA            NA                                    NA                    NA                   NA                 NA                NA




       UST Form 101-7-TDR (10/1/2010) (Page: 3)
          Case 2:15-bk-26377-BR                      Doc 31 Filed 04/10/18 Entered 04/10/18 07:34:06              Desc
                                                     Main Document     Page 4 of 16




                                                UNIFORM          CLAIMS
                                                                                 CLAIMS           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.        SCHEDULED                                            CLAIMS PAID
                                                                                ASSERTED         ALLOWED
                                                 CODE        (from Form 6D)

TOTAL SECURED CLAIMS                                                    $ NA              $ NA             $ NA               $ NA


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                             CLAIMS             CLAIMS            CLAIMS
              PAYEE                       TRAN.                                                                   CLAIMS PAID
                                                           SCHEDULED           ASSERTED          ALLOWED
                                          CODE

BRAD D. KRASNOFF                          2100-000                     NA           1,525.29         1,525.29             1,525.29


BRAD D. KRASNOFF                          2200-000                     NA             514.43           514.43               514.43


FRANCHISE TAX BOARD                       2820-000                     NA           1,670.90         1,670.90             1,670.90


MENCHACA & COMPANY LLP                    3410-000                     NA           1,800.00         1,800.00             1,800.00

TOTAL CHAPTER 7 ADMIN. FEES                                           $ NA         $ 5,510.62       $ 5,510.62           $ 5,510.62
AND CHARGES



            EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                             CLAIMS             CLAIMS            CLAIMS
              PAYEE                       TRAN.                                                                   CLAIMS PAID
                                                           SCHEDULED           ASSERTED          ALLOWED
                                          CODE

NA                                              NA                     NA                 NA               NA                  NA

TOTAL PRIOR CHAPTER ADMIN.                                            $ NA              $ NA             $ NA                 $ NA
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS




     UST Form 101-7-TDR (10/1/2010) (Page: 4)
          Case 2:15-bk-26377-BR                  Doc 31 Filed 04/10/18 Entered 04/10/18 07:34:06               Desc
                                                 Main Document     Page 5 of 16




                                                             CLAIMS            CLAIMS
                                                UNIFORM
                                                           SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                            (from Form      (from Proofs of     ALLOWED
                                                 CODE
                                                                6E)             Claim)

            Board of Equalization PO Box
            942879 Sacramento, CA
            94279-0001                                               0.00                 NA              NA             0.00


            Employment Development
            Department Bankruptcy
            Group MIC 92E PO Box
            826880 Sacramento, CA
            94280-0001                                               0.00                 NA              NA             0.00


            Los Angeles Co Treasurer Tax
            Coll 225 N Hill Street First
            Floor Los Angeles, CA
            90012-3232                                               0.00                 NA              NA             0.00


            Los Angeles County
            Assessors Office 13800
            Balboa Blvd Sylmar, CA
            91342-1034                                               0.00                 NA              NA             0.00


            State Board of Equalization
            15350 Sherman Way Ste 250
            Van Nuys, CA 91406                                       0.00                 NA              NA             0.00


            Unknown holders of
            unredeemed gift cards and gift
            certificates                                        88,720.59                 NA              NA             0.00


6           FRANCHISE TAX BOARD                 5800-000              NA               800.00        800.00            800.00


3           Internal Revenue Service            5800-000             0.00              761.41        761.41            761.41




     UST Form 101-7-TDR (10/1/2010) (Page: 5)
          Case 2:15-bk-26377-BR                  Doc 31 Filed 04/10/18 Entered 04/10/18 07:34:06                Desc
                                                 Main Document     Page 6 of 16




                                                            CLAIMS             CLAIMS
                                                UNIFORM
                                                          SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                           (from Form       (from Proofs of     ALLOWED
                                                 CODE
                                                               6E)              Claim)

TOTAL PRIORITY UNSECURED                                      $ 88,720.59          $ 1,561.41      $ 1,561.41          $ 1,561.41
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                            CLAIMS             CLAIMS
                                                UNIFORM
                                                          SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                           (from Form       (from Proofs of     ALLOWED
                                                 CODE
                                                               6F)              Claim)

            American Express Customer
            Service PO Box 981535 El
            Paso, TX 79998-1535                                      0.00                 NA              NA                 0.00


            American Express PO Box
            297879 Fort Lauderdale, FL
            33329-7879                                               0.00                 NA              NA                 0.00


            Arrowhead Direct 6661 Dixie
            Hwy Suite 4 Louisville, KY
            40258                                                   52.31                 NA              NA                 0.00


            AT&T Business Services
            14575 Presidio Square Room
            CR Houston, TX 77083                                     0.00                 NA              NA                 0.00


            AT&T PO Box 5025 Carol
            Stream, IL 60197-5025                                5,800.00                 NA              NA                 0.00


            Bank of America PO Box
            15796 Wilmington, DE
            19886-5796                                         15,888.55                  NA              NA                 0.00




     UST Form 101-7-TDR (10/1/2010) (Page: 6)
          Case 2:15-bk-26377-BR                  Doc 31 Filed 04/10/18 Entered 04/10/18 07:34:06             Desc
                                                 Main Document     Page 7 of 16




                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                        CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            Bank of America PO Box
            982238 El Paso, TX 79998-
            2238                                                    0.00                 NA             NA             0.00


            Chase PO Box 6026 Mail
            code IL1-0054 Chicago, IL
            60680-6026                                              0.00                 NA             NA             0.00


            Chase PO Box 78039
            Phoenix, AZ 85062-8039                             14,998.40                 NA             NA             0.00


            Demandforce Inc 22 4th
            Street, 12th Floor San
            Francisco, CA 94103                                 1,060.97                 NA             NA             0.00


            Earthlink 1179 Peachtree
            Street ne Atlanta, GA 30309                             0.00                 NA             NA             0.00


            Earthlink PO Box 730216
            Saint Louis, MO 63179-0216                             45.90                 NA             NA             0.00


            Extra Storage Valencia 26200
            Hollywood Court Valencia,
            CA 91355                                                0.00                 NA             NA             0.00


            Gerry C Schmelter Blackmar
            Principe & Schmelter APC
            600 B Street Ste 2250 San
            Diego, CA 92101                                         0.00                 NA             NA             0.00




     UST Form 101-7-TDR (10/1/2010) (Page: 7)
          Case 2:15-bk-26377-BR                  Doc 31 Filed 04/10/18 Entered 04/10/18 07:34:06             Desc
                                                 Main Document     Page 8 of 16




                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                        CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6F)             Claim)

            Muzak LLC 1703 W 5th
            Street Ste 600 Austin, TX
            78703                                                 400.00                 NA             NA             0.00


            Muzak LLC PO Box 71070
            Charlotte, NC 28272-1070                                0.00                 NA             NA             0.00


            PK I Granary Square LP 3333
            New Hyde Park Road #100
            New Hyde Park, NY 11042-
            1204                                                    0.00                 NA             NA             0.00


            Pk I Granary Square LP PO
            Box 82565 Dept Code
            SCAV1416 Goleta, CA
            93118-2565                                          1,887.80                 NA             NA             0.00


            Pk I Granary Square LP PO
            Box 82565 Dept Code
            SCAV1416 Goleta, CA
            93118-2565                                              0.00                 NA             NA             0.00


            ReadyRefresh by Nestle 216
            661 Dixie Highway Ste 4
            Louisville, KY 40258                                    0.00                 NA             NA             0.00


            ReadyRefresh by Nestle PO
            Box 856158 Louisville, KY
            40285-6158                                              0.00                 NA             NA             0.00




     UST Form 101-7-TDR (10/1/2010) (Page: 8)
          Case 2:15-bk-26377-BR                  Doc 31 Filed 04/10/18 Entered 04/10/18 07:34:06               Desc
                                                 Main Document     Page 9 of 16




                                                             CLAIMS            CLAIMS
                                                UNIFORM
                                                           SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                            (from Form      (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)             Claim)

            Southern California Edison
            PO Box 300 Rosemead, CA
            91771-0001                                           1,055.27                 NA              NA             0.00


            Southern California Gas
            Company PO Box C
            Monterey Park, CA 91756                                 54.12                 NA              NA             0.00


            Tyco Integrated Security
            14200 E Exposition Aurora,
            CO 80012                                                 0.00                 NA              NA             0.00


            Tyco Integrated Security LLC
            10405 Crosspoint Bl
            Indianapolis, IN 46256                                   0.00                 NA              NA             0.00


            Tyco Integrated Security LLC
            PO Box 371967 Pittsburgh,
            PA 15250-7967                                            0.00                 NA              NA             0.00


            Valencia Water Company
            24631 Avenue Rockefeller
            Valencia, CA 91355                                     132.30                 NA              NA             0.00


            Valencia Water Company PO
            Box 515106 Los Angeles, CA
            90051-5106                                               0.00                 NA              NA             0.00


5           American Express Bank, Fsb          7100-000         1,442.09            1,442.09       1,442.09            13.74


2           Pk Granary Square Lp                7100-000        75,576.40          68,495.60       68,495.60           652.60




     UST Form 101-7-TDR (10/1/2010) (Page: 9)
          Case 2:15-bk-26377-BR                   Doc 31 Filed 04/10/18 Entered 04/10/18 07:34:06                 Desc
                                                  Main Document    Page 10 of 16




                                                              CLAIMS             CLAIMS
                                                 UNIFORM
                                                            SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                            CLAIMS PAID
                                                             (from Form       (from Proofs of     ALLOWED
                                                  CODE
                                                                 6F)              Claim)

4           So Calif Edison Company              7100-000              0.00            1,000.22        1,000.22              9.53


            West Notifications Inc Dba
1           Televox                              7100-001             75.00              525.00         525.00               5.00


6A          FRANCHISE TAX BOARD                  7300-000               NA                22.02           22.02              0.00


3A          Internal Revenue Service             7300-000               NA                25.00           25.00              0.00

TOTAL GENERAL UNSECURED                                        $ 118,469.11        $ 71,509.93      $ 71,509.93          $ 680.87
CLAIMS




     UST Form 101-7-TDR (10/1/2010) (Page: 10)
                                                                                                                                                                                                       Page:       1
                                       Case 2:15-bk-26377-BR                    Doc 31 Filed 04/10/18 Entered 04/10/18 07:34:06                                      Desc
                                                                                            FORM Page
                                                                                Main Document    1    11 of 16
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
                                                                                                                                                                                                           Exhibit 8
Case No:              15-26377                         BR             Judge:        Barry Russell                                Trustee Name:                      BRAD D. KRASNOFF (TR), TRUSTEE
Case Name:            Lesprit, Inc.                                                                                              Date Filed (f) or Converted (c):   10/26/2015 (f)
                                                                                                                                 341(a) Meeting Date:               12/01/2015
For Period Ending:    03/23/2018                                                                                                 Claims Bar Date:                   03/07/2016


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

  1. City National Bank Business Checking Account No. 9493                                7,754.42                   7,482.41                                                 7,482.41                           FA

     City National Bank business checking account no. 9493
  2. Marine Agency Insurance Professional Liability Insurance Pol                              0.00                     26.00                                                      26.00                         FA

     Marine Agency Insurance professional liability insurance
     policy no. 8203 (no cash value)
  3. Possible Refund On Insurance Payment (Approximate)                                      300.00                       0.00                                                       0.00                        FA
  4. Los Angeles County Business License No. 1808 (Expired                                     0.00                       0.00                                                       0.00                        FA
     8/21/1
  5. Office Equipment, Furnishings And Supplies (Including 5 Old                             685.00                       0.00                                                       0.00                        FA
  6. Hair And Skin Care Products (At Debtor's Principals' Residen                         4,017.00                        0.00                                                       0.00                        FA
  7. TYCO INTGRATED SECURITY (u)                                                               0.00                       5.81                                                       5.81                        FA

     REFUND, NOT SCHEDULED.
  8. PAYCHEX, INC. (u)                                                                         0.00                    239.68                                                     238.68                         FA

     TRUSTEE INVESTIGATING
INT. Post-Petition Interest Deposits (u)                                                 Unknown                          N/A                                                        0.00                        FA


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $12,756.42                  $7,753.90                                                $7,752.90                         $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:




      UST Form 101-7-TDR (10/1/2010) (Page: 11)
                                                                                                                                                                                  Page:    2
                                        Case 2:15-bk-26377-BR               Doc 31 Filed 04/10/18 Entered 04/10/18 07:34:06 Desc
QUARTERLY STATUS REPORT FOR PERIOD ENDING 9/30/17                           Main Document                Page 12 of 16
The trustee's accountants have resolved the various estate tax issues. In September 2017, the trustee resubmitted to the FTB the estate's 2016 return. Claims review completed.

***************************************                                                                                                                                            Exhibit 8
QUARTERLY STATUS REPORT FOR PERIOD ENDING 6/30/17
The trustee's accountant is endeavoring to resolve tax penalt abatement issues. The effort is ongoing.

***********************************************

ANNUAL STATUS REPORT FROM 4/1/16 TO 3/31/17
During this reporting period, all assets have been full administered. Trustee has re uested the estate's final tax returns and all claims wor has been completed. Trustee
anticipates the final tax returns to be completed within the next month. Based upon the provided about the projected estimated date for submission of the final report has been
changed from 1/31/17 to 6/30/17.

****************************************************

ANNUAL STATUS REPORT FROM 4/1/15 TO 3/31/16
During this reporting period the debtor turned over certain funds held in a ban account to the trustee. The trustee received two potential account receivables(asset #8).
Accountants have been emplo ed.




Initial Projected Date of Final Report (TFR): 01/31/2017           Current Projected Date of Final Report (TFR): 12/31/2017




     UST Form 101-7-TDR (10/1/2010) (Page: 12)
                                                                                                                                                                                                   Page:           1
                                      Case 2:15-bk-26377-BR                  Doc 31 Filed   04/10/18 Entered 04/10/18 07:34:06
                                                                                          FORM 2
                                                                                                                                                                   Desc
                                                                             Main  Document      Page 13 of 16RECORD
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 15-26377                                                                                          Trustee Name: BRAD D. KRASNOFF (TR), TRUSTEE                                  Exhibit 9
      Case Name: Lesprit, Inc.                                                                                           Bank Name: Union Bank
                                                                                                                Account Number/CD#: XXXXXX8841
                                                                                                                                         Checking
  Taxpayer ID No: XX-XXX8243                                                                            Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 03/23/2018                                                                           Separate Bond (if applicable):


       1                2                             3                                             4                                                    5                    6                       7

Transaction Date    Check or                Paid To / Received From                    Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)      Account/CD Balance
                    Reference                                                                                                      Code                                                               ($)
   12/02/15             1         L'ESPRIT, INC.                            TURN OVER OF FUNDS                                  1129-000                  $7,482.41                                    $7,482.41
                                  25832 1/2 NORTH MACBEAN
                                  PARKWAY
                                  VALENCIA, CA 91355
   12/02/15             2         MARINE AGENCY CORPORATION                 REFUND                                              1129-000                      $26.00                                   $7,508.41
                                  TRUST ACCOUNT
                                  191 MAPLEWOOD AVENUE
                                  MAPPLEWOOD, NJ 07040
   12/28/15             7         TYCO INTEGRATED SECURITY                  REFUND                                              1290-000                       $5.81                                   $7,514.22
                                  10405 CROSSPOINT BLVD
                                  INDIANAPOLIS, IN 46256
   02/12/16             8         PAYCHEX, INC./TAXPAY                      ACCOUNT RECEIVABLES                                 1290-000                     $238.68                                   $7,752.90
                                  911 PANORAMA TRAIL SOUTH
                                  ROCHESTER, NY 14625-0397
   06/01/16          100001       FRANCHISE TAX BOARD                       2016 CALIFORNIA                                     2820-000                                           $800.00             $6,952.90
                                  PO BOX 942857                             CORPORATE TAXES
                                  SACRAMENTO, CA 94257-0531                 CORPORATION NO. 30-
                                                                            8638143 - 2016 FORM 100-ES
   08/23/17                       UNION BANK                                REIMBURSEMENT TO                                    2820-000                     $800.00                                   $7,752.90
                                  FOR FRANCHISE TAX BOARD                   ESTATE FOR 2016 TAX
                                  ELECTRONIC CREDIT                         PAYMENT TO FTB THAT IT
                                                                            DID NOT CASH (FORGED OR
                                                                            MISSING ENDORSEMENT)
   08/23/17          100002       FRANCHISE TAX BOARD                       2016 CALIFORNIA                                     5800-000                                           $800.00             $6,952.90
                                  PO BOX 942857                             CORPORATE TAXES
                                  SACRAMENTO, CA 94257-0531                 CORPORATION NO. 30-
                                                                            8638143 - 2016 FORM 100-ES
   08/25/17          100002       FRANCHISE TAX BOARD                       2016 CALIFORNIA                                     5800-000                                          ($800.00)            $7,752.90
                                  PO BOX 942857                             CORPORATE TAXES Reversal
                                  SACRAMENTO, CA 94257-0531
                                                                            CORPORATION NO. 30-
                                                                            8638143 - 2016 FORM 100-ES
   02/28/18          100003       BRAD D. KRASNOFF                          TRUSTEE'S FEES PER                                  2100-000                                       $1,525.29               $6,227.61
                                  1900 AVENUE OF THE STARS                  ORDER ENTERED 2/23/18
                                  11th FLOOR
                                  LOS ANGELES, CA 90067-4402




                                                                                  Page Subtotals:                                                         $8,552.90            $2,325.29
        UST Form 101-7-TDR (10/1/2010) (Page: 13)
                                                                                                                                                                                                  Page:           2
                                      Case 2:15-bk-26377-BR                  Doc 31 Filed   04/10/18 Entered 04/10/18 07:34:06
                                                                                          FORM 2
                                                                                                                                                                     Desc
                                                                             Main  Document      Page 14 of 16RECORD
                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 15-26377                                                                                            Trustee Name: BRAD D. KRASNOFF (TR), TRUSTEE                               Exhibit 9
      Case Name: Lesprit, Inc.                                                                                             Bank Name: Union Bank
                                                                                                                  Account Number/CD#: XXXXXX8841
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX8243                                                                              Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 03/23/2018                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                   6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                            ($)
   02/28/18          100004       BRAD D. KRASNOFF                          TRUSTEE'S EXPENSES PER                                2200-000                                         $514.43            $5,713.18
                                  1900 AVENUE OF THE STARS                  ORDER ENTERED 2/23/18
                                  11th FLOOR
                                  LOS ANGELES, CA 90067-4402
   02/28/18          100005       FRANCHISE TAX BOARD                       First and final distribution to                       2820-000                                      $1,670.90             $4,042.28
                                  BANKRUPTCY SECTION MS A340                claim 7 representing a payment
                                  PO BOX 2952                               of 100.00 % per court order.
                                  SACRAMENTO, CA 95812-2952
   02/28/18          100006       MENCHACA & COMPANY LLP                    ACCOUNTANT FOR                                        3410-000                                      $1,800.00             $2,242.28
                                  835 WILSHIRE BLVD., SUITE 300             TRUSTEE'S FEES PER
                                  LOS ANGELES, CA 90017                     ORDER ENTERED 2/23/18
   02/28/18          100007       Internal Revenue Service                  First and final distribution to                       5800-000                                         $761.41            $1,480.87
                                  Centralized Insolvency Operation          claim 3 representing a payment
                                  P.O. Box 7346                             of 100.00 % per court order.
                                  Philadelphia, PA 19101-7346
   02/28/18          100008       FRANCHISE TAX BOARD                       First and final distribution to                       5800-000                                         $800.00               $680.87
                                  BANKRUPTCY SECTION MS A340                claim 6 representing a payment
                                  PO BOX 2952                               of 100.00 % per court order.
                                  SACRAMENTO, CA 95812-2952
   02/28/18          100009       Clerk, U.S. Bankruptcy Court              Remit to Court                                        7100-001                                           $5.00               $675.87
                                                                            CLAIM #1 - WEST
                                                                            NOTIFICATIONS, INC. DBA
                                                                            TELEVOX
   02/28/18          100010       Pk Granary Square Lp                      First and final distribution to                       7100-000                                         $652.60                $23.27
                                  C/O George B. Blackmar, Esq.              claim 2 representing a payment
                                  Blackmar, Principe & Schmelter, Apc       of 0.95 % per court order.
                                  600 B Street, Suite 2250
                                  San Diego, Ca 92101
   02/28/18          100011       So Calif Edison Company                   First and final distribution to                       7100-000                                           $9.53                $13.74
                                  Attn: Credit And Payment Svs              claim 4 representing a payment
                                  1551 W. San Bernardino Rd                 of 0.95 % per court order.
                                  Covina Ca 91722
   02/28/18          100012       American Express Bank, Fsb                First and final distribution to                       7100-000                                          $13.74                 $0.00
                                  C O Becket And Lee Llp                    claim 5 representing a payment
                                  Pob 3001                                  of 0.95 % per court order.
                                  Malvern, Pa 19355-0701


                                                                                                             COLUMN TOTALS                                  $7,752.90           $7,752.90


                                                                                   Page Subtotals:                                                              $0.00           $6,227.61
        UST Form 101-7-TDR (10/1/2010) (Page: 14)
                                                                                                                                      Page:    3
                              Case 2:15-bk-26377-BR   Doc 31 Filed 04/10/18Less:Entered   04/10/18 07:34:06 $0.00
                                                                                 Bank Transfers/CD's
                                                                                                               Desc          $0.00
                                                      Main Document    Page 15 of 16
                                                                            Subtotal                          $7,752.90   $7,752.90
                                                                                  Less: Payments to Debtors      $0.00       $0.00     Exhibit 9
                                                                            Net                               $7,752.90   $7,752.90




                                                          Page Subtotals:                                        $0.00       $0.00
UST Form 101-7-TDR (10/1/2010) (Page: 15)
                                                                                                                                                          Page:     4
                              Case 2:15-bk-26377-BR          Doc 31 Filed 04/10/18 Entered 04/10/18 07:34:06                Desc
                                                             Main Document    Page 16 of 16
                                                                                                                                                           Exhibit 9
                                                                                      TOTAL OF ALL ACCOUNTS
                                                                                                                                      NET             ACCOUNT
                                                                                                    NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                            XXXXXX8841 - Checking                                         $7,752.90              $7,752.90                 $0.00
                                                                                                          $7,752.90              $7,752.90                 $0.00

                                                                                                  (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                          transfers)            to debtors)
                                            Total Allocation Receipts:                   $0.00
                                            Total Net Deposits:                       $7,752.90
                                            Total Gross Receipts:                     $7,752.90




                                                                    Page Subtotals:                                      $0.00                $0.00
UST Form 101-7-TDR (10/1/2010) (Page: 16)
